MIE (Rev.Case     2:21-cv-11170-SFC-CI
         9/09) Order                                      ECF
                     Regarding Reassignment of Companion Case - CivilNo.   3, PageID.37 Filed 06/11/21 Page 1 of 1



                                                  UNITED STATES DISTRICT COURT
                                                  EASTERN DISTRICT OF MICHIGAN

State of California,


                     Plaintiff(s),                                           Case No. 21-11170

v.                                                                           Honorable Denise Page Hood

Sumitomo Riko Co. Ltd.                                                       Magistrate Judge Curtis Ivy, Jr.


                     Defendant(s).
                                                                     /

                               ORDER REGARDING REASSIGNMENT OF COMPANION CASE

         This case appears to be a companion case to Case No.          12-MD-02311     . Pursuant to E.D. Mich LR
83.11, the Clerk is directed to reassign this case to the docket of the Honorable Sean F. Cox
and Magistrate Judge R. Steven Whalen                     .


                                                                             s/Denise Page Hood
                                                                             Denise Page Hood
                                                                             United States District Judge

                                                                             s/Sean F. Cox
                                                                             Sean F. Cox
                                                                             United States District Judge




          Pursuant to this order, case assignment credit will be given to the appropriate Judicial Officers.
          Case type: CIVIL

        If the District Judge assigned to the companion case is located at another place of holding court, the office
code will be changed accordingly.


Date: June 11, 2021                                                          s/N. Ahmed
                                                                             Deputy Clerk

cc:     Parties and/or counsel of record
        Honorable Sean F. Cox
